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  8                             UNITED STATES DISTRICT COURT

  9                       FOR THE CENTRAL D.:STRICT OF CALIFORNIA

10    UNITED STATES OF AMERICA,                ~ N o- C R- Iq- G03~~1 R~~L
11                 Plaintiff,                    I N F O R M A T I O N

12                 v.                            [18 U.S.C. ~ 1344(2): Bank Fraud
                                                 and Attempted Bank Fraud]
13    HAKOP ZAKARYAN,

14                 Defendant.

15

16           The United States Attorney charges:

17                                  [18 U.S.C. ~ 1344(2)]

18    A.     INTRODUCTORY ALLEGATION

19           1.    At all times relevant to this Information, Wells Fargo

20    Bank,'N.A. ("Wells Fargo") was a federally insured financial

21    institution with branches throughout the United States.

22    B.     SCHEME TO DEFRAUD

23           2.    Beginning on a date unknown to the United States Attorney's

P
.i!   Office ("USAO") but at least by in or about January 2014,, and

25    continuing until on or about July 24, 2014, in Los Angeles County,

26    within the Central District of California, and elsewhere, defendant

27    HAKOP ZAKARYAN (~~ZAKARYAN"), together with others known and unknown

28    to the USAO, each aiding and abetting the others, knowingly and with
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   1   intent to defraud, executed and attempted to execute a scheme to

   2   obtain moneys, funds, assets, and other property owned by and in the

   3   custody and control of Wells Fargo, by means of material false and

   4   fraudulent pretenses, representations, and promises, and the

  5    concealment of material facts.

  6            3.    The fraudulent scheme operated, in substance, in the

  7    following manner:

  8                  a.    In exchange for thousands of dollars in cash payments

  9    from others known and unknown to the USAO, defendant ZAKARYAN would

10     use his position as bank manager at a Wells Fargo branch in Glendale,

11     California, to "unfreeze" bank accounts that had been frozen by Wells

12     Fargo based upon suspected fraud.

13                   b.    To unfreeze the bank accounts, defendant would provide

14     false statements to Wells Fargo.

15                   c.   Once the bank accounts were unfrozen, defendant would

16     assist others known and unknown to the USAO to withdraw cash from the

17     Wells Fargo bank accounts, even though he knew those individuals were

18     using fraudulent identities to do so.

19                  d.    Defendant would accept as payment thousands of dollars

fGI1   from the cash that others known and unknown to the USAO had withdrawn

21     from the Wells Fargo bank accounts that defendant had unfrozen.

22     C.     EXECUTION OF THE SCHEME TO DEFRAUD

23            On or about the dates set forth below, in Los Angeles County,

24     within the Central District of California, and elsewhere, defendant

25     ZAKARYAN, together with others known and unknown to the USAO, each

26     aiding and abetting the others, executed and attempted to execute the

27     fraudulent scheme, by committing and willfully causing others to

~:l    commit the following act on or about July 24, 2014:- authorizing and

                                                 2
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 1   assisting a $29,453.04 cash withdrawal from Wells Fargo checking

 2   account ending in 5032 at Wells Fargo branch in Glendale, California.

 3                                         NICOLA T. HANNA
                                           United States Attorney
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                                                  i
 6                                         BRANDON D. FOX
                                           Assistant United States Attorney
 7                                         Chief, Criminal Division

 8                                         BENJAMIN R. BARRON
                                           Assistant United States Attorney
 9                                         Chief, Santa Ana Branch Office

10                                         DANIEL H. AHN
                                           Assistant United States Attorney
11                                         Deputy Chief, Santa Ana Branch
                                           Office
12
                                           CHARLES E. PELL
13                                         Assistant United States Attorney
                                           Santa Ana Branch Office
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